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                                   4                                 UNITED STATES DISTRICT COURT

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                                                                 NORTHERN DISTRICT OF CALIFORNIA
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                                   8   WILLIAM KIVETT, BERNARD BRAVO,
                                       and LISA BRAVO,
                                   9                                                         No. C 18-05131 WHA
                                                       Plaintiffs,
                                  10
                                                v.
                                  11                                                         ORDER MODIFYING JUDGMENT
                                       FLAGSTAR BANK, FSB, a federal savings
                                  12   bank,
Northern District of California
 United States District Court




                                  13                   Defendant.

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                                  15         In this class action against a bank for failure to pay interest on escrow, prior orders

                                  16   granted class certification and summary judgment in favor of the class on a state law claim

                                  17   against defendant. The summary judgment order held federal law did not preempt the state law

                                  18   claim. On appeal, our court of appeals affirmed this holding. But it vacated and remanded

                                  19   with instructions to modify the judgment and class definition. The modifications are necessary

                                  20   because “the district court incorrectly tolled the statute of limitations and accordingly misstated

                                  21   the award.” Accordingly, this order proposes to modify the judgment as follows:

                                  22            •    The judgment amount from $9,262,769.24 to $9,180,580.15; and

                                  23            •    The class definition date from April 18, 2014, to August 22, 2014 (Dkt. No. 226).

                                  24         Any objection to these modifications must be filed WITHIN 14 C ALENDAR DAYS. The

                                  25   prior order modifying the judgment (Dkt. No. 224) is hereby WITHDRAWN.

                                  26   Dated: June 3, 2022.

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                                                                                                WILLIAM ALSUP
                                  28                                                            UNITED STATES DISTRICT JUDGE
